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     Sacramento, CA 95814
 3   (916) 443-8055
 4
     Attorney for Defendant
 5   JOSE MENDOZA
 6                                IN THE UNITED STATES DISTRICT COURT
 7
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,                       Case No.: 07-134 EJG
10
                           Plaintiff,                STIPULATION AND ORDER
11
                                                     VACATING DATE, CONTINUING
12             v.                                    CASE, AND EXCLUDING TIME
13   JOSE MENDOZA                                    DATE: August 6, 2010
14                                                   TIME: 10:00 a.m.
                           Defendant.
                                                     JUDGE: Hon. Edward J. Garcia
15
16
17   IT IS HEREBY STIPULATED by and between Assistant United States Attorney Philip
18   Ferrari, Counsel for Plaintiff, and Attorney Clemente M. Jiménez, Counsel for Defendant
19   JOSE MENDOZA, that the status conference scheduled for August 6, 2010, at 10:00
20   a.m., be vacated and the matter continued to this Court’s criminal calendar on September
21   17, 2010, at 10:00 a.m. for further status conference. Defense counsel seeks additional
22   time to prepare and confer with his client.
23             IT IS FURTHER STIPULATED that time for trial under the Speedy Trial Act, 18
24   U.S.C. Section 3161 et seq. be tolled pursuant to Section 3161(h)(7)(A) and (B)(iv),
25   (Local code T-4), and that the ends of justice served in granting the continuance and
26   allowing the defendants further time to prepare outweigh the best interests of the public
27   and the defendant to a speedy trial.
28



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 1   DATED:                August 5, 2010             /S/   Philip Ferrari ______________
                                                      PHILIP FERRARI
 2
                                                      Attorney for Plaintiff
 3
 4
                                                      /S/   Clemente M. Jiménez________
 5                                                    CLEMENTE M. JIMÉNEZ
                                                      Attorney for Jose Mendoza
 6
 7
 8
 9                                            ORDER
10   IT IS SO ORDERED, that the status conference in the above-entitled matter, scheduled
11   for August 6, 2010, at 10:00 a.m., be vacated and the matter continued to September 17,
12   2010, at 10:00 a.m. for further status conference. The Court finds that time under the
13   Speedy Trial Act shall be excluded through that date in order to afford counsel reasonable
14   time to prepare. Based on the parties’ representations, the Court finds that the ends of
15   justice served by granting a continuance outweigh the best interests of the public and the
16   defendants to a speedy trial.
17
18   This 5th day of August, 2010

19                                                    /s/ Edward J. Garcia
20                                                    HON. EDWARD J. GARCIA
                                                      United States District Judge
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